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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


CHANDRIKABEN PANCHAL
2450 Emmitsburg Rd
Gettysburg, PA 17325
Adams County, Cumberland

Plaintiff,                                  Case No.:

      vs.
                                            COMPLAINT
KIRSTJEN M. NIELSEN, Secretary
of Homeland Security
Washington, DC 20528

L.FRANCIS CISSNA, Director of the
United States Citizenship and
Immigration Services
20 Massachusetts Avenue, N.W.
Washington, DC 20529

KATHLEEN BAUSMAN, Director of the
United States Citizenship and Immigration
Services’ Philadelphia Field Office
30 North 41st Street
Philadelphia, PA 19101

             Defendants.
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1                                      COMPLAINT
2
                               DESCRIPTION OF ACTION
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4
           1. This complaint is brought by CHANDRIKABEN PANCHAL against the
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     Defendants to compel a decision on her Form I-485, application for adjustment of
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7    status, which has been pending with the defendants for over seven (7) years.
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9
                                      JURISDICTION
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           2. This being a civil action against the United States arising under the
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13
     Immigration and Nationality Act, 8 U.S.C. § 1101 et. seq., the Mandamus Act, 28

14   U.S.C. § 1361, and the Administrative Procedure Act, 5 U.S.C. § 701 et seq., all
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     laws of the United States, original jurisdiction over this matter is vested in this
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     Court by 28 U.S.C. § 1331.
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18
                              DESCRIPTION OF PARTIES
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20         3. The plaintiff, CHANDRIKABEN PANCHAL is a citizen and national of
21   India residing in the state of Pennsylvania. Her “alien number” is A088 616 269.
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23         4. The defendant, KIRSTJEN M. NIELSEN, is the Secretary of Homeland

24   Security, and as such has the authority to adjudicate applications for adjustment of
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     status (Form I-485). She resides for official purposes in the District of Columbia.

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1           5. The defendant, L. FRANCIS CISSNA, is the Director of the United
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     States Citizenship and Immigration Services (USCIS), the agency within the
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     Department of Homeland Security which adjudicates Forms I-485. He resides for
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5    official purposes in the District of Columbia.
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           6. The defendant, KATHLEEN BAUSMAN, is the Director of the USCIS’s
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     Philadelphia Field Office where CHANDRIKABEN PANCHAL’s Form I-485 is
8

9    currently pending, and has immediate responsibility for its adjudication. She
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     resides for official purposes in the State of Pennsylvania.
11

12

13                   BRIEF STATEMENT OF RELEVANT FACTS
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15          7. On December 14, 2011, Simmy D. Panchal, a U.S. citizen, filed a petition

16   for alien relative (Form I-130) upon behalf of CHANDRIKABEN PANCHAL, her
17
     mother, with USCIS to classify Mrs. Panchal as an immigrant pursuant to 8 U.S.C.
18
     § 1151(b) on the basis of being a parent of a U.S. citizen.
19

20         8. This petition, assigned File No. MSC-12-902-20488, was approved by

21   USCIS on December 12, 2016.
22
           9. About the same time that Simmy D. Panchal filed the referenced Form I-
23
     130, CHANDRIKABEN PANCHAL filed a Form I-485 with the USCIS to adjust
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1    her U.S. immigration status to that of alien lawfully admitted for permanent
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     residence, which was assigned File No. MSC1290220487.
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           10. Since that time CHANDRIKABEN PANCHAL has been interviewed
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5    repeatedly on her application and made numerous follow up requests with the
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     USCIS, all to no avail.
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           11. On April 10, 2018 Mrs. Panchal commenced an action in this Court to
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9
     compel the defendants to make a decision on her application in a reasonable time.

10         12. On July 10, 2018, in apparent response to that suit, the defendants
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     interviewed Mrs. Panchal at the USCIS Philadelphia Field Office.
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           13. Accordingly, Mrs. Panchal, upon the reasonable expectation that her re-
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14   interview meant that a decision in her application was imminent, voluntarily

15   dismissed her action on August 24, 2018.
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           14. However, as of today there has still yet to be a decision upon Mrs.
17
     Panchal’s Form I-485.
18

19

20                                       COUNT I

21

22         15. Defendant KIRSTJEN M. NIELSEN, Secretary of Homeland Security,
23
     Defendant L. FRANCIS CISSNA, Director of the United States Citizenship and
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     Immigration Services, and Defendant KATHLEEN BAUSMAN, Director of the
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1    United States Citizenship and Immigration Services’ Philadelphia Field Office, are
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     each and all officers or employees of the United States and the indicated agency.
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4           16. Defendant KIRSTJEN M. NIELSEN, Secretary of Homeland Security,

5    Defendant L. FRANCIS CISSNA, Director of the United States Citizenship and
6
     Immigration Services, and Defendant KATHLEEN BAUSMAN, Director of the
7
     United States Citizenship and Immigration Services’ Philadelphia Field Office,
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9    each and all owe a duty to the Plaintiff CHANDRIKABEN PANCHAL to
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     adjudicate her I-485 within a reasonable period of time. 5 U.S.C. § 555(b) ("With
11
     due regard for the convenience and necessity of the parties or their representatives
12

13
     and within a reasonable time, each agency shall proceed to conclude a matter

14   presented to it.").
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            17. According to the USCIS’s own website, current processing times for
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     Forms I-485 at the Philadelphia Field Office is 13.5 to 22 months
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18          18. Accordingly, the over seven (7) years in which this application has been

19   pending with Defendant KIRSTJEN M. NIELSEN, Secretary of Homeland
20
     Security, Defendant L. FRANCIS CISSNA, Director of the United States
21
     Citizenship and Immigration Services, and Defendant KATHLEEN BAUSMAN,
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23   Director of the United States Citizenship and Immigration Services’ Philadelphia
24   Field Office, or their predecessors, is well beyond that which these officers or
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     employees reasonably require to adjudicate it.

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1          19. This Court has authority under 28 U.S.C. § 1361 to compel an officer or
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     employee of the United States to perform a duty owed to the Plaintiffs.
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4          20. This Court also has authority under 5 U.S.C. § 706(1) to compel agency
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     action unlawfully withheld or unreasonably delayed.
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                                  RELIEF REQUESTED
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           WHEREFORE it is respectfully requested that the Court compel Defendants
11
     KIRSTJEN M. NIELSEN, Secretary of Homeland Security, L. FRANCIS
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13   CISSNA, Director of the United States Citizenship and Immigration Services, and

14   KATHLEEN BAUSMAN, Director of the United States Citizenship and
15
     Immigration Services’ Philadelphia Field Office, to adjudicate CHANDRIKABEN
16
     PANCHAL’s Form I-485 in no more than 30 days from the date of the Court's
17

18   order, and to take such other action as it deems appropriate.
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     Respectfully Submitted,
20

21                                             s/Michael E. Piston
                                               Michael E. Piston MI0002
22                                             Attorney for the Plaintiff
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23                                              New York, NY, 10007
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24                                              Fax: 206-770-6350
                                               Email: michael@piston.net
25                                            January , 2019

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